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                            UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA




IN RE: ROUNDUP PRODUCTS                       MDL No. 2741
LIABILITY LITIGATION                          Case No. 16-md-02741-VC


This document relates to:
ALL ACTIONS




             EXPERT REPORT OF DR. DENNIS WEISENBURGER, M.D.

                       IN SUPPORT OF GENERAL CAUSATION

                              ON BEHALF OF PLAINTIFFS
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             EXHIBIT A
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                                            CURRICULUM VITAE

                                   DENNIS D. WEISENBURGER, MD

                             Professor and Chairman, Department of Pathology
                                   City of Hope National Medical Center
                                            1500 E. Duarte Road
                                             Duarte, CA 91010

                                            Date Prepared: April 2017


I. EDUCATION

University               University of North Dakota, Grand Forks, ND, BA (General), Honors, 1970

University               University of North Dakota, Grand Forks, ND, BS (Medicine), Honor, 1972

Medical School           University of Minnesota, Minneapolis, MN, MD, 1974

II. POST GRADUATE EDUCATION AND TRAINING

Internship           Ohio State University Hospitals (Internal Medicine), Columbus, OH, 07/74-06/75

Residency            University of Iowa Hospitals (Anatomic and Clinical Pathology), Iowa City, IA, 07/75-12/78

Fellowship           City of Hope National Medical Center (Hematopathology), Duarte, CA, 01/79-12/80

CERTIFICATIONS

    •    National Board of Medical Examiners, 1977
    •    Anatomic and Clinical Pathology, American Board of Pathology, 1979

MEDICAL LICENSURES

    •    MD-20612, Iowa, 1977, Active
    •    16584, Nebraska, 1984, Active
    •    G38421, California, 2012, Active

III. PROFESSIONAL EXPERIENCE, POSITIONS & EMPLOYMENT Separate faculty
appointments from other administrative, hospital or industry appointments and program affiliations

Hospital Appointments
Assistant Pathologist, City of Hope National Medical Center, Duarte, CA, 1981
Staff Pathologist, Mercy San Juan and American River Hospitals, Carmichael, CA, 1981-1984

Academic Appointments
Assistant Clinical Professor of Pathology, University of California at Davis Medical Center, 1981-1984

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Associate Professor of Pathology & Microbiology, University of Nebraska Medical Center, 1984-1988
                Director of Hematopathology
                Chief Pathologist, Nebraska Lymphoma Study Group
                Director of Hematopathology Fellowship Program, 1984-1988
                Director of University Hospital Clinical Laboratories, 1986-1988
                Director of Bone Marrow Culture Laboratory, 1984-1989
                Director of University Hospital Regional Reference Laboratory, 1984-1987
Professor of Pathology & Microbiology, University of Nebraska Medical Center, 1988-2012
                Director of Hematopathology
                Chief Pathologist, Nebraska Lymphoma Study Group
                Director of Hematopathology Fellowship Program, 1988-2011
                Director of University Hospital Clinical Laboratories, 1988-1996
Professor and Chairman, Department of Pathology, City of Hope National Medical Center, 2012-present
                Program Member, Hematologic Malignancies, City of Hope Comprehensive Cancer Center

Clinical Administrative Appointments
    • See above

Other Professional Activities
Associate Professor Courtesy, Eppley Institute for Research in Cancer and Allied Diseases, 1985-1988
Graduate College Faculty Fellow, University of Nebraska Medical Center, 1985-2012
Consulting Pathologist, Omaha Veterans Administration Hospital, 1985-1993, 1997-2000
Consulting Pathologist, Nebraska Department of Health Laboratory, 1987-1989
Professor Courtesy, Eppley Institute for Research in Cancer and Allied Diseases, 1988-2012
Consulting Pathologist, North American Autologous Blood and Bone Marrow Transplant Registry, 1994-2012
Consulting Pathologist, Cancer and Leukemia Study Group B, 1996-1999
Member, Lymphoma and Pathology Core Committees, 1996-1999
Co-chair, Correlative Sciences Core Committee for Leukemia/Lymphoma, 1997-1998
Member, Center for Environmental Health and Toxicology, University of Nebraska, 1998-2012
NCI Leukemia, Lymphoma, and Myeloma Progress Review Group, 2000
NCI AIDS-related Malignancy Tissue Bank Review Group, 2000-2010
Lymphoma Foundation of America Scientific Review Panel, 2000-present
International Consortium of Investigators Working on Lymphoma Epidemiologic Studies, 2001-present
     (InterLymph); Chair, Pathology Working Group, 2001-2014
Member, Center for Research in Leukemia and Lymphoma, University of Nebraska, 2004-2012
Member, Center for Molecular Genetics and Genomics, University of Nebraska, 2007-2012
Advisory Board, Lugano International Conference on Malignant Lymphoma, 2009-2013

IV. National Honors, Scholarships and Awards Honors and Awards

1970          Phi Beta Kappa, University of North Dakota
1970          Grey Gown Award, University of North Dakota
1972          Pathology Award, University of North Dakota Medical School
1985          Alexander von Humbolt Fellowship
1994          Groundwater Foundation Special Recognition Award for Research
1996-1998     Best Doctors in America, Central Region
2000-present  America’s Top Doctors/Medical Specialists
2001-present  Best Doctors in America
2004          Alpha Omega Alpha, University of Nebraska
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2005-2008       Visiting Professor, China Three Gorges University
2005-2008       Visiting Professor, Hubei Province Cancer Hospital
2006            Milton R. Hales Lecture in Pathology, West Virginia University School of Medicine
2006-present    Who’s Who in Science and Engineering
2006-present    American Men and Women of Science
2008            UNeMED Research Innovation Award
2008            UNMC Distinguished Scientist
2011            John J. Kepes Lectures in Pathology, Kansas City Society of Pathologists
2012, 2016      UNMC Innovation Award for Patent
2016            Distinguished Lecturer, Sylvester Comprehensive Cancer Center, University of Miami

V. CLINICAL ACTIVITIES

    •    See above

VI. SERVICE TO INSTITUTION

Administrative Service
Committee Assignments at University of Nebraska Medical Center:
1984-1985      Departmental Education Committee
1985-1987      Departmental Laboratory Computer Committee
1985-1987      University Hospital Computer Committee
1985-1998      Departmental Administrative Committee
1986-1996      Chairman, Clinical Laboratory Quality Assurance Committee
1985-1989      Deans Scholastic Evaluation Committee
1986           Deans Ad Hoc Committee on Tenure
1986-1987      Deans Ad Hoc Committee for selection of Obstetrics/Gynecology Chairman
1988-1989      Deans Ad Hoc Committee for selection of Biostatistics/Epidemiology Chairman
1988-1990      Intercampus Water Quality Advisory Committee for Governor’s Research Initiatives
1988-1992      Chairman (1989), Departmental Promotion and Tenure Committee
1988-1989      Chancellors Ad Hoc Committee for selection of Director of Eppley Institute
1989-1990      Nursing Staffing Patterns Task Force
1988-1996      University Medical Associates (UMA) Ambulatory Affairs Committee
1988-1992      Chairman, UMA Ancillary Diagnostic Standards Committee
1989-1991      UMA Clinic Policies and Procedures Committee
1989-1992      Board of Directors, Professional Fees Office, Nebraska Clinicians Group
1990-1993      Chairman, Clinical Laboratory Service Excellence Committee
1991           Chancellor’s Ad Hoc Subcommittee on Total Quality Management
1991           Chairman, Deans Ad Hoc Committee for selection of Water Center Toxicologist
1991-1992      American Board of Pathology, Hematology Committee
1991-1999      A. Ross McIntyre Awards Selection Committee
1992-1996      Chairman, Hospital Quality Assurance Committee for Ancillary Laboratory Testing
1993-1996      Hospital Quality Assurance and Improvement Committee
1993-1994      Clinical Laboratory Quality Monitoring Team
1994           University of Nebraska Medical Center Leadership Institute
1994-1995      University Hospital Consortium Laboratory Strategic Benchmarking Committee

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1996-1997       Chairman, Departmental Promotion and Tenure Committee
1996-1997       Campus Committee for Selection of Director of Molecular Genetics
1997-2003       Cancer Center Membership Committee
1997-2012       Associate Director, Cancer Center Tissue Procurement Core Facility Committee
2002-2003       Campus Comprehensive Space Planning and Analysis Group
2002-2003       Campus Research Development Board
2002-2004       Departmental Promotion and Tenure Committee, Chairman 2002-2003,
2003-2011       College of Medicine Graduate Medical Education Committee
2004-2007       Chairman, Departmental Grand Rounds Committee
2004-2012       Executive Committee, Center for Research in Leukemia and Lymphoma
2008            Chairman, Departmental Workload Committee

Committee Assignments at City of Hope Medical Center:
2012-present Committee of Chairs
2012-present Medical Group Board of Directors
2012-present Cancer Center Leadership Council
2012-2013    Chairman, Tissue Biorepository Initiative
2013-present Chairman, City of Hope Biorepository Committee
2014-present Director, Cancer Center Pathology Core Cluster Shared Resource
2015         Committee for Selection of Chair of Medical Oncology
2015-2016    Laboratory Information System Steering Committee
2015-present Lymphoma Clinical Database Committee
2015-present Lymphoma Center Investigator Committee
2015-present ORIEN Steering Committee
2016-present Clinical Laboratory Test Utilization Committee
2016-present Precision Medicine Working Group

Teaching Service
   • Director of Hematopathology Fellowship Program, University of Nebraska Medical Center, 1984-2011
   • Hematopathology and general pathology for medical students, residents, and fellows, University of
       Nebraska Medical Center, 1984-2011

Other Research Mentoring Activities/Committees
   • N/A

VII. SERVICE TO PROFESSION

Professional Organizations
National/International American Association for Cancer Research, 1984-present
                       American Society of Clinical Pathologists, 1984-present
                                Member, Council on Hematology, 1994-2000
                       American Society for Hematology, 1984-present
                       College of American Pathologists, 1984-present
                       European Association for Haematopathology, 1984-present
                       Society for Hematopathology, 1984-present
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                              Member, Executive Committee, 1995-1999
                      United States and Canadian Academy of Pathology, 1984-present
Regional/Local        Los Angeles Society of Pathologists, 2012-present
Government Activities N/A
NIH Study Section     N/A
Editorships           N/A

Editorial Boards       Modern Pathology, 1990-2007
                       Clinical Lymphoma, Myeloma, and Leukemia, 2000-present
                       Journal of Oncology 2008-2009
                       The European Journal of Clinical and Medical Oncology, 2009-present
                       World Journal of Clinical Oncology, 2010-present
                       Blood and Lymphatic Cancer: Targets and Therapy, 2010- present
                       Journal of Epidemiology and Public Health, 2016-present
                       Clinics in Oncology, 2016-present
Journal Reviews        American Journal of Clinical Pathology; American Journal of Gastroenterology;
                       American Journal of Hematology; American Journal of Pathology; Annals of
                       Hematology; Annals of Internal Medicine; Annals of Oncology; Blood; Bone
                       Marrow Transplantation; Cancer; Cancer Causes and Control; Digestive Diseases;
                       Environmental Health Perspectives; European Journal of Cancer; Human
                       Pathology; International Journal of Cancer; Journal of Clinical Oncology;
                       Laboratory Investigation; Leukemia; Leukemia and Lymphoma; Leukemia Research;
                       New England Journal of Medicine.
Grant Reviews          N/A
Community Service      Nebraska Environmental Control Council (Governor’s appointment), 1987-1989
                       Professional Education Committee, American Cancer Society, Nebraska Division, 1986-
                       1989
                       Advisory Committee on Cancer Prevention and Control, Nebraska Department of Health,
                       1987-1995
                       Nebraska Cancer Registry Advisory Committee, Nebraska Department of Health, 1989-
                       2011
                       Board of Directors, American Cancer Society, Nebraska Division, 1990-1992
                       Board of Directors, AAA Center for Pregnancy Counseling, 2004-2012

Other:
Symposia               N/A
Sessions Chaired       N/A
Consultantships        N/A

VIII. Grants/Research Support

ACTIVE GRANTS
  • N/A

PENDING GRANTS/RESEARCH SUPPORT
   • N/A
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COMPLETED GRANTS/RESEARCH SUPPORT
  • N/A

IX. Publications

Publications (peer-reviewed), 425 Total
1.     Weisenburger, D.D., O'Conner, M.L., and Hart, M.N., Thrombotic Thrombocytopenic Purpura with
       C'3 Vascular Deposits: Report of a Case. Am J Clin Pathol, 1977. 67(1): p. 61-63.

2.      Rankin, W.E., Hart, M.N., and Weisenburger, D.D., Thrombotic Thrombocytopenic Purpura in a
        Child with Alexander's Disease. Arch Pathol Lab Med, 1977. 101(12): p. 655-657.

3.      Weisenburger, D., Armitage, J., and Dick, F., Immunoblastic Lymphadenopathy with Pulmonary
        Infiltrates, Hypocomplementemia and Vasculitis. A Hyperimmune Syndrome. Am J Med, 1977.
        63(6): p. 849-854.

4.      Weisenburger, D.D., Interstitial Pneumonitis Associated with Azathioprine Therapy. Am J Clin
        Pathol, 1978. 69(2): p. 181-185.

5.      Weisenburger, D.D., Immunoblastic Lymphadenopathy Associated with Methyldopa Therapy: A
        Case Report. Cancer, 1978. 42(5): p. 2322-2327.

6.      Seibert JJ, Seibert RW, Weisenburger DD, Alsbrook W. Multiple Congenital Hemangiopericytomas
        of the Head and Neck. Laryngoscope 88:1006-1011, 1978.

7.      Helms, C.M., Sturm, R.H., Viner, J.P., Weisenburger, D., Renner, E., and Rose, E., Legionnaires'
        Disease: A Case from Iowa. J Iowa Med Soc, 1978. 68(9): p. 311-317.

8.      Weisenburger, D.D., DeGowin, R.L., Gibson, P., and Armitage, J.O., Remission of Giant Lymph
        Node Hyperplasia with Anemia after Radiotherapy. Cancer, 1979. 44(2): p. 457-462.

9.      Weisenburger, D.D., Membranous Nephropathy. Its Association with Multicentric Angiofollicular
        Lymph Node Hyperplasia. Arch Pathol Lab Med, 1979. 103(11): p. 591-594.

10.     Hunsicker, L.G., Shearer, T.P., Plattner, S.B., and Weisenburger, D., The Role of Monocytes in
        Serum Sickness Nephritis. J Exp Med, 1979. 150(3): p. 413-425.

11.     Weisenburger, D.D., Acute Myelofibrosis Terminating as Acute Myeloblastic Leukemia. Am J Clin
        Pathol, 1980. 73(1): p. 128-132.

12.     Weisenburger, D.D., Rappaport, H., Ahluwalia, M.S., Melvani, R., and Renner, E.D., Legionnaires'
        Disease. Am J Med, 1980. 69(3): p. 476-482.

13.     Diamond, L.W., Bearman, R.M., Berry, P.K., Mills, B.J., Nathwani, B.N., Weisenburger, D.D.,
        Winberg, C.D., Teplitz, R.L., and Rappaport, H., Prolymphocytic Leukemia: Flow
        Microfluorometric, Immunologic, and Cytogenetic Observations. Am J Hematol, 1980. 9(3): p. 319-
        330.

14.     Helms, C.M., Viner, J.P., Renner, E.D., Chiu, L.C., and Weisenburger, D.D., Legionnaires' Disease
        among Pneumonias in Iowa (Fy 1972-1978). Epidemiologic and Clinical Features of 30 Sporadic
        Cases of L. Pneumophila Infection. Am J Med Sci, 1981. 281(1): p. 2-13.
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15.     Weisenburger, D.D., Helms, C.M., and Renner, E.D., Sporadic Legionnaires' Disease. A Pathologic
        Study of 23 Fatal Cases. Arch Pathol Lab Med, 1981. 105(3): p. 130-137.

16.     Weisenburger, D.D., Nathwani, B.N., Diamond, L.W., Winberg, C.D., and Rappaport, H., Malignant
        Lymphoma, Intermediate Lymphocytic Type: A Clinicopathologic Study of 42 Cases. Cancer, 1981.
        48(6): p. 1415-1425.

17.     Diamond, L.W., Weisenburger, D.D., and Rappaport, H., The Relationship between Lymphocyte
        Nuclear Morphology and Cell Cycle Stage in Lymphoid Neoplasia. Am J Hematol, 1981. 11(2): p.
        165-173.

18.     Weisenburger, D.D., Kim, H., and Rappaport, H., Mantle-Zone Lymphoma: A Follicular Variant of
        Intermediate Lymphocytic Lymphoma. Cancer, 1982. 49(7): p. 1429-1438.

19.     Weisenburger, D.D., Nathwani, B.N., Forman, S.J., and Rappaport, H., Noncutaneous Peripheral T-
        Cell Lymphoma Histologically Resembling Mycosis Fungoides. Cancer, 1982. 49(9): p. 1839-1847.

20.     Weisenburger, D.D., Mantle-Zone Lymphoma. An Immunohistologic Study. Cancer, 1984. 53(5): p.
        1073-1080.

21.     Helms, C.M., Viner, J.P., Weisenburger, D.D., Chiu, L.C., Renner, E.D., and Johnson, W., Sporadic
        Legionnaires' Disease: Clinical Observations on 87 Nosocomial and Community-Acquired Cases.
        Am J Med Sci, 1984. 288(1): p. 2-12.

22.     Weisenburger, D.D., Nathwani, B.N., Winberg, C.D., and Rappaport, H., Multicentric
        Angiofollicular Lymph Node Hyperplasia: A Clinicopathologic Study of 16 Cases. Hum Pathol, 1985.
        16(2): p. 162-172.

23.     Weisenburger, D.D., Astorino, R.N., Glassy, F.J., Miller, C.H., MacKenzie, M.R., and Caggiano, V.,
        Peripheral T-Cell Lymphoma. A Clinicopathologic Study of a Morphologically Diverse Entity.
        Cancer, 1985. 56(8): p. 2061-2068.

24.     Weisenburger, D.D., Vinh, T.N., and Levinson, B., Malakoplakia of Bone. An Unusual Cause of
        Pathologic Fracture in an Immunosuppressed Patient. Clin Orthop Relat Res, 1985(201): p. 106-110.

25.     Weisenburger, D.D., Lymphoid Malignancies in Nebraska: A Hypothesis. Nebr Med J, 1985. 70(8):
        p. 300-305.

26.     Armitage, J.O., Weisenburger, D.D., Hutchins, M., Moravec, D.F., Dowling, M., Sorensen, S.,
        Mailliard, J., Okerbloom, J., Johnson, P.S., Howe, D., and et al., Chemotherapy for Diffuse Large-
        Cell Lymphoma--Rapidly Responding Patients Have More Durable Remissions. J Clin Oncol, 1986.
        4(2): p. 160-164.

27.     Berg, A.R., Weisenburger, D.D., Linder, J., and Armitage, J.O., Lymphoplasmacytic Lymphoma.
        Report of a Case with Three Monoclonal Proteins Derived from a Single Neoplastic Clone. Cancer,
        1986. 57(9): p. 1794-1797.

28.     Homler, H.J., Goetz, C.S., and Weisenburger, D.D., Lymphangitic Cutaneous Metastases from Lung
        Cancer Mimicking Cellulitis. Carcinoma Erysipeloides. West J Med, 1986. 144(5): p. 610-612.



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29.     Armitage, J.O., Gingrich, R.D., Klassen, L.W., Bierman, P.J., Kumar, P.P., Weisenburger, D.D., and
        Smith, D.M., Trial of High-Dose Cytarabine, Cyclophosphamide, Total-Body Irradiation, and
        Autologous Marrow Transplantation for Refractory Lymphoma. Cancer Treat Rep, 1986. 70(7): p.
        871-875.

30.     Kessinger, A., Armitage, J.O., Landmark, J.D., and Weisenburger, D.D., Reconstitution of Human
        Hematopoietic Function with Autologous Cryopreserved Circulating Stem Cells. Exp Hematol, 1986.
        14(3): p. 192-196.

31.     Sanger, W.G., Weisenburger, D.D., Armitage, J.O., and Purtilo, D.T., Cytogenetic Abnormalities in
        Noncutaneous Peripheral T-Cell Lymphoma. Cancer Genet Cytogenet, 1986. 23(1): p. 53-59.

32.     Mirvish, S.S., Weisenburger, D.D., Salmasi, S., and Kaplan, P.A., Carcinogenicity of 1-(2-
        Hydroxyethyl)-1-Nitrosourea and 3-Nitroso-2-Oxazolidinone Administered in Drinking Water to
        Male Mrc-Wistar Rats: Induction of Bone, Hematopoietic, Intestinal, and Liver Tumors. J Natl
        Cancer Inst, 1987. 78(2): p. 387-393.

33.     Joshi, S.S., Kessinger, A., Mann, S.L., Stevenson, M., Weisenburger, D.D., Vaughan, W.P., Armitage,
        J.O., and Sharp, J.G., Detection of Malignant Cells in Histologically Normal Bone Marrow Using
        Culture Techniques. Bone Marrow Transplant, 1987. 1(3): p. 303-310.

34.     Harrington, D.S., Weisenburger, D.D., and Purtilo, D.T., Malignant Lymphoma in the X-Linked
        Lymphoproliferative Syndrome. Cancer, 1987. 59(8): p. 1419-1429.

35.     Weisenburger, D.D., Linder, J., Daley, D.T., and Armitage, J.O., Intermediate Lymphocytic
        Lymphoma: An Immunohistologic Study with Comparison to Other Lymphocytic Lymphomas.
        Hum Pathol, 1987. 18(8): p. 781-790.

36.     Mroczek, E.C., Weisenburger, D.D., Grierson, H.L., Markin, R., and Purtilo, D.T., Fatal Infectious
        Mononucleosis and Virus-Associated Hemophagocytic Syndrome. Arch Pathol Lab Med, 1987.
        111(6): p. 530-535.

37.     Weisenburger, D.D., Sanger, W.G., Armitage, J.O., and Purtilo, D.T., Intermediate Lymphocytic
        Lymphoma: Immunophenotypic and Cytogenetic Findings. Blood, 1987. 69(6): p. 1617-1621.

38.     Smith, D.M., Weisenburger, D.D., Bierman, P., Kessinger, A., Vaughan, W.P., and Armitage, J.O.,
        Acute Renal Failure Associated with Autologous Bone Marrow Transplantation. Bone Marrow
        Transplant, 1987. 2(2): p. 195-201.

39.     Linder, J., Ye, Y.L., Harrington, D.S., Armitage, J.O., and Weisenburger, D.D., Monoclonal
        Antibodies Marking T Lymphocytes in Paraffin-Embedded Tissue. Am J Pathol, 1987. 127(1): p. 1-8.

40.     Vaughan, W.P., Weisenburger, D.D., Sanger, W., Gale, R.P., and Armitage, J.O., Early Leukemic
        Recurrence of Non-Hodgkin Lymphoma after High-Dose Anti-Neoplastic Therapy with Autologous
        Marrow Rescue. Bone Marrow Transplant, 1987. 1(4): p. 373-378.

41.     Harrington, D.S., Ye, Y.L., Weisenburger, D.D., Armitage, J.O., Pierson, J., Bast, M., and Purtilo,
        D.T., Malignant Lymphoma in Nebraska and Guangzhou, China: A Comparative Study. Hum
        Pathol, 1987. 18(9): p. 924-928.



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42.     Speaks, S.L., Sanger, W.G., Linder, J., Johnson, D.R., Armitage, J.O., Weisenburger, D., and Purtilo,
        D., Chromosomal Abnormalities in Indolent Lymphoma. Cancer Genet Cytogenet, 1987. 27(2): p.
        335-344.

43.     Weisenburger, D.D., Linder, J., and Armitage, J.O., Peripheral T-Cell Lymphoma: A
        Clinicopathologic Study of 42 Cases. Hematol Oncol, 1987. 5(3): p. 175-187.

44.     Vago, J.F. and Weisenburger, D.D., Acute Megakaryocytic Leukemia with Myeloid/Monocytic
        Differentiation. Am J Surg Pathol, 1987. 11(11): p. 883-889.

45.     Sanger, W.G., Armitage, J.O., Bridge, J., Weisenburger, D.D., Fordyce, R., and Purtilo, D.T., Initial
        and Subsequent Cytogenetic Studies in Malignant Lymphoma. Cancer, 1987. 60(12): p. 3014-3019.

46.     Vago, J.F., Weisenburger, D.D., and Armitage, J.O., Do Pathologic Features Predict Prognosis in
        Diffuse Large B-Cell Lymphoma? Hematol Pathol, 1987. 1(4): p. 217-225.

47.     Linder, J., Ye, Y., Armitage, J.O., and Weisenburger, D.D., Monoclonal Antibodies Marking B-Cell
        Non-Hodgkin's Lymphoma in Paraffin-Embedded Tissue. Mod Pathol, 1988. 1(1): p. 29-34.

48.     Weisenburger, D.D., Multicentric Angiofollicular Lymph Node Hyperplasia. Pathology of the Spleen.
        Am J Surg Pathol, 1988. 12(3): p. 176-181.

49.     Kessinger, A., Armitage, J.O., Landmark, J.D., Smith, D.M., and Weisenburger, D.D., Autologous
        Peripheral Hematopoietic Stem Cell Transplantation Restores Hematopoietic Function Following
        Marrow Ablative Therapy. Blood, 1988. 71(3): p. 723-727.

50.     Harrington, D.S., Patil, K., Lai, P.K., Yasuda, N.N., Armitage, J.O., Ip, S.H., Weisenburger, D.D.,
        Linder, J., and Purtilo, D.T., Soluble Interleukin 2 Receptors in Patients with Malignant Lymphoma.
        Arch Pathol Lab Med, 1988. 112(6): p. 597-601.

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        Hodgkin Lymphomas Using Gene Expression Profiling of Formalin-fixed, Paraffin-embedded
        Tissues. 56th ASH Annual Meeting, 2014.

553.    Scotland P, Gaulard P, Love CL, Fataccioli V, Travert M, De Leval L, Weisenburger DD, Czader M,
        Parihar M, Nair R, Sengar M, Beaven AW, Crow JH, Miles RR, Gordon LI, Chadburn A, Evens AM,
        Gill J, Fedoriw YD, Richards KL, Srivastava G, Choi WWL, Flowers CR, Bernal-Mizrachi L, Mann
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        Exome Sequencing Defines the Genetic Landscape of Hepatosplenic T-cell Lymphoma. 56th ASH
        Annual Meeting, 2014.

554.    Ottesen RA, Goldstein L, Olsen KK, Kilburn JA, Weisenburger DD, Chu P, Niland JC.
        Discrepancy-reducing Feedback Loops Based on Intra- and Inter-validation of Synoptic Pathology
        Data. AMIA Joint Summits on Translational Science, 2014.

555.    Yang L, Chen L, Wang Y, Jones J, Yen Y, Loera S, Pillai R, Chu P, Weisenburger DD.
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        and Metastatic Tumor Cells from Patients with Prostate Cancer. Proc AACR, 2015.

556.    Pahwa M, Spinelli JJ, Freeman LB, Demers PA, Blair A, Pahwa P, Dosman JA, McLaughlin JR,
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        Risks of Non-Hodgkin Lymphoma Major Histological Subtypes in the North American Pooled
        Project (NAPP). Canadian Society for Epidemiology and Biostatistics Conference, 2015.

557.    Glasser SL, Clarke CA, Keegan THM, Chang ET, Weisenburger DD. Changing Incidence of
        Hodgkin Lymphoma Histologic Subtypes: Risk Factor Trends or Evolving Diagnostic Practice?
        Annual NAACCR Conference, 2015.

558.    Pahwa M, Spinelli JJ, Freeman LB, Demers PA, Blair A, Pahwa P, Dosman JA, McLaughlin JR,
        Zahm SH, Cantor KP, Weisenburger DD, Harris SA. An Evaluation of Glyphosate Use and the
        Risks of Non-Hodgkin Lymphoma Major Histological Subtypes in the North American Pooled
        Project (NAPP). International Society for Environmental Epidemiology Conference, 2015.

559.    Lui H, Medeiros LJ, Weisenburger DD, et al. Breast Implant-associated Anaplastic Large Cell
        Lymphoma (BI-ALCL): a Comprehensive Histopathological Evaluation of 40 Cases with a Proposal
        for a Pathologic Staging System. Mod Pathol 28: 360A, 2015.

560.    Caponetti G, Perry A, Smith LM, Bast M, Dave BJ, Fu K, Greiner T, Weisenburger DD.
        Immunohistochemical and Cytogentic Evaluation of MYC in Diffuse Large B-cell Lymphoma. Mod
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561.    Yuan J, Greiner TC, Fu K, Smith LM, Vose JM, Weisenburger DD. Rituximab Improves the
        Outcome of Patients with Grade 3 Follicular Lymphoma. Mod Pathol 28: 390A, 2015.

562.    Song L, Feldman AL, Murata-Collins JL, Bedell V, Weisenburger DD, Nathwani BN, Song JY.
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563.    Low L, Song JY, Mei M, Krishnan A, Nademanee A, Popplewell L, Chen R, Spielberger R, Cai J,
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        in Diffuse Large B-cell Lymphoma Predicts a Poor Outcome in Patients Treated with Autologous
        Stem Cell Transplantation. Mod Pathol 28: 361A, 2015.

564.    Perry AM, Perner Y, Diebold J, MacLennan KA, Müller-Hermelink HK, Nathwani BN, Boilesen E,
        Bast M, Armitage JO, Weisenburger DD. Classification of Non-Hodgkin Lymphoma (NHL) in
        Southern Africa (SA): Review of 487 Cases from the International Non-Hodgkin Lymphoma
        Classification Project. Mod Pathol 28: 371A, 2015.

565.    Gaulard P, DeLeval L, Czader M, Lossos I, Chapman-Fredericks J, Richards K, Chadburn A, Cheng
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        Lymphoma Reveals Novel Strategies for Treatment and Risk-stratification. Hematol Oncol 33: 137,
        2015.

566.    Nathwani BN, Low L, Pillai R, Weisenburger D. EBV-positive Cells Present Exclusively within
        Clusters of Monocytoid B-cells Masquerading as a Nodal Marginal Zone B-cell Lymphoma. Society
        of Hematopathology Workshop on Immunodeficiency and Dysregulation, 2015.

567.    Pillai R, Weisenburger D, Chan W, Nathwani B. Esptein-Barr Virus Positive Hodgkin Reed-
        Sternberg Type Cells Restricted within Clusters of Benign Monocytoid B-cells in a Patient with
        Bloom Syndrome. Society of Hematopathology Workshop on Immunodeficiency and
        Dysregulation, 2015.

568.    Herrera AF, Mei MG, Low L, Merryman RW, Song JY, Paris T, Stiller T, Bedell V, Sun H, Brown
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        LaCasce AS, Murata-Collins J, Nademanee AP, Palmer J, Pihan GA, Siddiqi T, Sohani AR,
        Popplewell LL, Zain J, Kwak LW, Weinstock DM, Forman SJ, Weisenburger DD, Kim Y, Rodig SJ,
        Krishnan A, and Armand P, Double Expressing (MYC/BCL2) and Double-hit Diffuse Large B-cell
        Lymphomas Have Inferior Survival Following Autologous Stem Cell Transplantation. 57th ASH
        Annual Meeting, 2015.

569.    Siddiqi T, Scuto A, Beumer JH, Song JY, Frankel P, Ruel C, Cobb J, Kiesel BF, Weisenburger DD,
        Kelly KR, Tuscano J, Popplewell L, Forman SJ, Piekarz R, and Newman EM, Results From a Phase
        1 Study and Expanded Cohort of an Interrupted Dosing Schedule of the Aurora Kinase A Inhibitor
        MLN8237 Combined with Vorinostat in Lymphoid Malignancies. 57th ASH Annual Meeting, 2015.

570.    Perry AM, Diebold J, MacLennan KA, Müller-Hermelink HK, Nathwani BN, Boilesen E, Bast M,
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        Regions Around the World: Review of 4539 Cases from the International Non-Hodgkin Lymphoma
        Classification Project. 57th ASH Annual Meeting, 2015.

571.    Perry AM, Diebold J, MacLennan KA, Müller-Hermelink HK, Nathwani BN, Boilesen E, Bast M,
        Armitage JO, Weisenburger DD. Classification of Non-Hodgkin Lymphoma (NHL) in the
        Developing World: The International NHL Classification Project. Mod Pathol 29: 368A, 2016.

572.    Low L, Song JY, Chen YY, Valle M, Weisenburger DD, Kim YS. Coexpression of MYC and BCL2
        Proteins Identifies a Subset of Follicular Lymphoma that Undergoes Transformation to Diffuse
        Large B-cell Lymphoma and Correlates with Poor Survival. Mod Pathol 29: 360A, 2016.

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573.    Ameri MD, Wong JT, Low L, Chen YY, Weisenburger DD, Pillai R, Kim YS, Song JY. CXCR4
        Expression in Follicular Lymphoma. Mod Pathol 29: 334A, 2016.

574.    Mohanty A, Sandoval N, Das M, Amin H, Marcucci G, Pillai R, Weisenburger DD, Rosen ST, Pham
        LV, Ngo VN. Cyclin D1 Mutations Increase Protein Stability and Promote Ibrutinib Resistance in
        Mantle Cell Lymphoma. ASH Lymphoma Biology Meeting, 2016.

575.    Perry AM, Diebold J, Nathwani BN, MacLennan KA, Müller-Hermelink HK, Bast M, Boilesen E,
        Armitage JO, Weisenburger DD. Classification of Non-Hodgkin Lymphoma in Seven Geographic
        Regions Around the World: Review of 4539 Cases from the International Non-Hodgkin Lymphoma
        Classification Project. InterLymph Annual Conference, 2016.

576.    Herrera AF, Low A, Griffin GK, Mei M, Merryman R, Song J, Bedell V, Sun H, Paris T, Stiller T,
        Alyea E, Brown J, Budde E, Chen R, Chen YB, Chan WC, Cutler C, Davids M, Freeman A, Fisher
        D, Ho V, Jacobsen E, Jacobson C, Koreth J, LaCasce A, Murata-Collins J, Nademanee A, Nikiforow
        S, Palmer J, Pihan G, Pillai R, Siddiqi T, Sohani A, Popplewell L, Zain J, Kwak L, Weinstock D,
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        Outcomes after Autologous and Allogenic Stem Cell Transplantation (SCT) in Diffuse Large B-cell
        Lymphoma (DLBCL) Patients with MYC/BCL2 Co-expression, Double-hit Lymphoma, or MYC
        Copy Gain. European Hematology Association Annual Meeting, 2016.

577.    Harris SA, Presutti R, Kachuri L, Spinelli JJ, Pahwa M, Blair A, Zham SH, Cantor KP, Weisenburger
        DD, Pahwa P, McLaughlin JR, Dosman JA, Freeman LB. Pesticide Exposures and the Risk of
        Multiple Myeloma in Men: An Analysis of the North American Pooled Project (NAPP). 50th IARC
        Global Cancer Occurance, Causes and Avenues to Prevention Conference, 2016.

578.    Pahwa M, Freeman LEB, Spinelli JJ, Blair A, Zahm SH, Cantor KP, Pahwa P, Dosman JA,
        McLaughlin JR, Weisenburger DD, Demers PA, Harris SA. A Detailed Assessment of Glyphosate
        Use and the Risks of Non-Hodgkin Lymphoma Overall and by Major Histological Subtypes:
        Findings from the North American Pooled Project (NAPP). 50th IARC Global Cancer Occurance,
        Causes and Avenues to Prevention Conference, 2016.

579.    Harris SA, Musa R, Pahwa M, Kachuri L, Spinelli JJ, Blair A, Pahwa P, McLaughlin JR, Dosman JA,
        Zahm SH, Cantor KP, Weisenburger DD, Freeman LEB. An Evaluation of Potentially Carcinogenic
        Pesticides and the Risks of Non-Hodgkin Lymphoma and its Histological Subtypes: An Analysis of
        the North American Pooled Project (NAPP). 50th IARC Global Cancer Occurance, Causes and
        Avenues to Prevention Conference, 2016.

580.    Kachuri L, Harris SA, Spinelli JJ, Blair A, Pahwa M, Zahm SH, Cantor KP, Weisenburger DD,
        Pahwa P, Dosman JA, McLaughlin JR, Demers PA, Freeman LEB. An Investigation of
        Organochlorine Insecticide Use and the Risks of Non-Hodgkin Lymphoma Subtypes: Findings from
        the North American Pooled Project (NAPP). 50th IARC Global Cancer Occurance, Causes and
        Avenues to Prevention Conference, 2016.

581.    Latifovic L, Freeman LB, Spinelli JJ, Pahwa M, Blair A, Pahwa P, McLaughlin JR, Dosman JA, Zahm
        SH, Cantor KP, Weisenburger DD, Demers PA, Harris SA. Pesticide Use and the Risk of Hodgkin
        Lymphoma: Results from the North American Pooled Project (NAPP). 50th IARC Global Cancer
        Occurance, Causes and Avenues to Prevention Conference, 2016.



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582.    Perry A, Diebold J, Nathwani B, MacLennan K, Müller-Hermelink HK, Bast M, Boilesen E,
        Armitage J, Weisenburger D. Non-Hodgkin Lymphoma in the Developing World: Review of 4539
        Cases from the International Non-Hodgkin Classification Project. 18th Meeting of the European
        Association for Haematopathology, 2016.

583.    Gonzalez BR, Song J, Weisenburger D, Palmer J, Zain J, Rosen ST, Querfeld C. The Immune
        Checkpoint Receptors ICOS and PD1 in Mycosis Fungoides and Sezary Syndrome: Correlation with
        Disease and Outcome. 3rd World Congress of Cutaneous Lymphomas, 2016.

584.    Mohanty A, Sandoval N, Das M, Amin HM, Marcucci G, Pillai R, Weisenburger DD, Rosen ST,
        Pham LV, Ngo VN. CCND1 Mutations Increase Protein Stability and Promote Ibrutinib Resistance
        in Mantle Cell Lymphoma. 58th ASH Annual Meeting, 2016.

585.    Herrera AF, Song JY, Griffin GK, Nikolaenko L, Mei M, Bedell V, Dal Cin P, Pak C, Stiller T, Sun
        H, Alyea EP, Budde LE, Chen RW, Chen Y-B, Chan WC, Cutler CS, Ho VT, Koreth J, Krishnan A,
        Murata-Collins JL, Nikiforow S, Palmer JM, Pihan GA, Pillai R, Popplewell L, Rosen ST, Siddiqi T,
        Sohani AR, Zain J, Kwak LW, Weisenburger DD, Nademanee AP, Weinstock DM, Soiffer RJ, Antin
        JH, Kim Y, Rodig SJ, Forman SJ, and Armand P, Double-Hit and Double-Expressor Lymphomas
        Are Not Associated with an Adverse Outcome after Allogeneic Stem Cell Transplantation. 58th
        ASH Annual Meeting, 2016.

586.    Bouska A, Bi C, Lone W, Zhang W, Kedwaii A, Heavican TB, Lachel CM, Yu J, Fu K, Ferro RA,
        Eldorghamy N, Greiner TC, Vose JM, Weisenburger DD, Gascoyne RD, Rosenwald A, Ott G,
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        Staudt LM, Green MR, Chan WC, and Iqbal J, Comprehensive Genomic Analysis of Adult Burkitt
        Lymphoma Identifies the B-Cell Receptor Signaling Pathway as a Potential Therapeutic Target. 58th
        ASH Annual Meeting, 2016.

587.    Heavican TB, Yu J, Bouska A, Greiner TC, Lachel CM, Wang C, Dave BJ, Amador CC, Fu K, Vose
        JM, Weisenburger DD, Gascoyne RD, Hartmann S, Pedersen MB, Wilcox R, Teh BT, Lim ST, Ong
        CK, Seto M, Berger F, Rosenwald A, Ott G, Campo E, Rimsza LM, Jaffe ES, Braziel RM, d'Amore
        FA, Inghirami G, Bertoni F, Staudt L, McKeithan TW, Pileri SA, Chan WC, and Iqbal J, Molecular
        Subgroups of Peripheral T-Cell Lymphoma Evolve by Distinct Genetic Pathways. 58th ASH Annual
        Meeting, 2016.

588.    Song J, Perry A, Pillai R, Herrera A, Ottensen R, Nikowitz J, Skrabek P, Goldstein L, McCarthy C,
        Najera L, Zain J, Wang J, Wu X, Nademanee A, Niland J, Chan WC, Weisenburger DD. Evaluation
        of de novo Diffuse Large B-cell Lymphoma Using a Targeted Next Generation Sequencing Assay.
        Mod Pathol 30: 1519A, 2017.

589.    Perry AM, Skrabek P, Ahsanuddin A, Schroedter I, Menard C, Lambert P, Song J, Weisenburger
        DD, Nasr M. Prognostic Significance of Telomere Length in Diffuse Large B-cell Lymphoma. Mod
        Pathol 30: 1483A, 2017.

590.    Siaghani P, Song JY, Wong J, Chen YY, Weisenburger DD, Kim YS. Tumor-associated
        Macrophages do Not Predict Survival in Relapsed/refractory Hodgkin Lymphoma Treated with
        Autologous Stem Cell Transplantation. Mod Pathol 30: 1515A, 2017.




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591.    Song JY, Kim YS, Siaghani P, Cantu D, Chen YY, Pillai R, Chan WC, Weisenburger DD. CTLA-4
        Expression in Hodgkin Lymphoma Confers a Worse Overall Survival in Relapsed/refractory
        Patients. Mod Pathol 30: 1518A, 2017.

592.    Wong JT, Ameri MD, Cantu D, Siaghani P, Song J, Weisenburger DD, Kim Y. Defining True
        Cellularity in Age-matched Marrows. Mod Pathol 30: 2102A, 2017.

593.    Wong JT, Ameri MD, Siaghani P, Cantu D, Chen YY, Song J, Weisenburger DD, Kim Y.
        Programmed Cell Death Ligand1 (PD-L1) Expression in the Follicular Lymphoma
        Microenvironment. Mod Pathol 30: 1545A, 2017.

594.    Sibon D, Nguyen DP, Schmitz N, Suzuki R, Feldman AL, Gressin R, Lamant L, Weisenburger DD,
        Nakamura S, Ziepert M, Maurer MJ, Bast M, Armitage JO, Vose JM, Jais JP, Savage KJ. Prognostic
        Factors and Impact of Etoposide in Adults with Systemic ALK-Positive Anaplastic Large Cell
        Lymphoma: a Pooled Analysis of Six Studies. (submitted)

595.    Weisenburger DD, El Behery R, Laurini JA, Smith LM, Dave BJ, Yuan J, Fu K, Chan WC, Nathwani
        BN, Bierman PJ, Bociek RG, Vose JM, Armitage JO, Greiner TC, Aoun P. Follicular Large Cleaved
        Cell (Centrocytic) Lymphoma: a Distinctive but Unrecognized Variant of Follicular Lymphoma.
        (submitted)

596.    Moltok A, Wright G, Rosewald A, Ott G, Ramsower C, Campo E, Braziel RM, Delabie J,
        Weisenburger DD, Song J, Chan WC, Cook J, Fu K, Greiner T, Smeland E, Holte H, Glinsmann-
        Gibson BJ, Gascoyne RD, Staudt LM, Jaffe E, Conners JM, Scott DW, Steidl C, Rimsza LM.
        Molecular Classification of Primary Mediastinal Large B-Cell Lymphoma Using Formalin-Fixed,
        Paraffin-Embedded Tissue Specimens – an LLMPP Project. (submitted)

597.    Cantu D, Siaghani P, Aoun P, Weisenburger DD, Pillai R. Molecular Profiling in Chronic
        Myelomocytic Leukemia. (submitted)

X. Invited Seminars/Lectures/Forums, 203 Total

1.      “Malignant Lymphoma, Intermediate Lymphocytic Type: A Clinicopathologic Study of 42 Cases.”
        International Academy of Pathology Meeting, 1981.

2.      “Mantle-Zone Lymphoma.” International Academy of Pathology Meeting, 1982.

3.      “Multicentric Angiofollicular Lymph Node Hyperplasia: A Clinicopathologic Study of 16 Cases.”
        International Academy of Pathology Meeting, 1984.

4.      “Intermediate Lymphocytic Lymphoma: An Immunohistologic Study with Comparison to Other
        Lymphocytic Lymphomas.” International Academy of Pathology Meeting, 1985.

5.      “Immunologic Studies of Multicentric and Unicentric Angiofollicular Lymphoid Hyperplasia.”
        International Academy of Pathology Meeting, 1986.

6.      “Induction of B-Cell Lymphoma/Leukemia in Wistar Rats by 2-Hydroxyethylnitrosourea.”
        Proceedings of the American Association for Cancer Research, 1986.



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7.      “Peripheral T-Cell Lymphoma: A Clinicopathologic Study of 42 Cases.” Proceedings of the
        American Association for Cancer Research, 1986.

8.      “Intermediate Lymphocytic Lymphoma: An Immunologic and Cytogenetic Study.” International
        Congress of the International Academy of Pathology, 1986.

9.      “Castleman’s Disease: A Unified Concept.” Eleventh Annual AFIP Course on Pathology of Lymph
        Nodes, 1987.

10.     “B-Cell Neoplasia Recapitulates the Normal Humoral Immune Response.” Third International
        Conference on Malignant Lymphoma, 1987.

11.     “Detection of Occult Lymphoma Cells in Bone Marrow Harvested for Autologous Transplantation.”
        International Academy of Pathology Meeting, 1988.

12.     “Castleman’s Disease: A Unified Concept.” Twelfth Annual AFIP Course on Pathology of Lymph
        Nodes, 1988.

13.     “Intermediate Lymphocytic and Mantle-Zone Lymphomas: Evolving Concepts.” Twelfth Annual
        AFIP Course on Pathology of Lymph Nodes, 1988.

14.     “Mantle-Zone Lymphoma: A Systematic Approach.” ASCP Course on Lymph Node Pathology,
        1988.

15.     “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 1988.

16.     “Environmental Epidemiology of Non-Hodgkin’s Lymphoma in Eastern Nebraska.” Iowa
        Symposium on Agricultural Occupational and Environmental Health, 1988.

17.     “Lymphoid Malignancies and Agricultural Practices.” NIEHS Workshop on the Quantification of
        Risk in Immunotoxicology, 1988.

18.     “Lymphoid Malignancies and Agricultural Practices.” Symposium on Agricultural Impacts on
        Groundwater, American Association for the Advancement of Science Meeting, 1989.

19.     “Castleman’s Disease: A Unified Concept.” Thirteenth Annual AFIP Course on Pathology of
        Lymph Nodes, 1989.

20.     “Intermediate Lymphocytic and Mantle-Zone Lymphomas: Evolving Concepts.” Thirteenth Annual
        AFIP Course on Pathology of Lymph Nodes, 1989.

21.     “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 1989.

22.     “Hematopoietic Neoplasia: A Conceptual Understanding.” Environmental Epidemiology Branch,
        National Cancer Institute, 1989.

23.     “Benign Diseases of Lymph Nodes: A Pattern Approach.” Short Course for American Society of
        Clinical Pathologists Meeting, 1989.


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24.     “Lymphoma Pathology in Epidemiologic Studies.” Workshop on Cancer in Rural Areas, University
        of Saskatchewan, 1989.

25.     “Non-Hodgkin’s Lymphoma Associated with the Agricultural Use of Herbicides: Analysis by
        Histologic type.” International Academy of Pathology Meeting, 1990.

26.     “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 1990.

27.     “Benign Diseases of Lymph Nodes: A Pattern Approach.” Short Course for American Society of
        Clinical Pathologists Meeting, 1990.

28.     “Potential Health Consequences of Groundwater Contamination by Agrichemicals in Nebraska.”
        NATO Advanced Research Workshop on Nitrate Contamination: Exposure, Consequences, and
        Control, 1990.

29.     “Non-Hodgkin’s Lymphoma Associated with the Agricultural Use of Herbicides: Analysis by
        Histologic type.” Third Meeting of the European Association for Haematopathology, 1990.

30.     “Non-Hodgkin’s Lymphoma Associated with the Agricultural Use of Herbicides: Analysis by
        Histologic Type.” Klein Symposium on Causes, Consequences, and Cures Lymphoproliferative
        Diseases, 1991.

31.     “Mantle Zone Lymphoma.” International Academy of Pathology Meeting, 1991.

32.     “Non-Hodgkin’s Lymphomas of Primary Follicle/Mantle Zone Origin.” 2nd Vicenza International
        Workshop of Hematology, 1991.

33.     “Cancers of the Lymphohematopoietic System in Humans Exposed to 1,3-Butadiene.”
        Occupational Safety and Health Administration, 1991.

34.     “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 1991.

35.     “Benign Diseases of Lymph Nodes: A Pattern Approach.” Short Course for American Society of
        Clinical Pathologist Meeting, 1991.

36.     “Intermediate Cell Lymphoma - Current Controversies.” Society for Hematopathology Symposium,
        American Society of Clinical Pathologists Meeting, 1991.

37.     “Human Health Effects of Agrichemical Use.” Environmental and Occupational Disease - A State-
        of-the-Art Conference for Pathology Educators, 1991.

38.     “Lymphoma Pathology in Epidemiologic Studies.” National Cancer Institute Workshop on the
        Time Trends in Non-Hodgkin’s Lymphoma - Current Knowledge and Recommendations for
        Research, 1991.

39.     “Pesticides/Chemicals and Their Association with Non-Hodgkin’s Lymphoma.” National Cancer
        Institute Workshop on Mechanisms in B-Cell Neoplasia, 1992.



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40.     “Birth Defects and Well Water Contamination by Agrichemicals.” Third International Symposium
        on Issues in Health, Agriculture and the Environment, 1992.

41.     “Benign Diseases of Lymph Nodes: A Systemic Approach”. ASCP Course on Lymph Node
        Pathology, 1992.

42.     “Strategies for Service Excellence in the Clinical Laboratory.” Short Course for American Society of
        Clinical Pathologists Meeting, 1992.

43.     “Benign Diseases of Lymph Nodes: A Pattern Approach.” Short Course for American Society of
        Clinical Pathologists Meeting, 1992.

44.     “Is the 2;5 Chromosomal Translocation Specific for CD30-Positive Anaplastic Large Cell
        Lymphoma? US/Canadian Academy of Pathology Meeting, 1993.

45.     “Epidemiology of Non-Hodgkin’s Lymphoma.” Keystone Symposium on B- and T-Cell
        Lymphomas, 1993.

46.     “Epidemiology of Non-Hodgkin’s Lymphoma.” Fifth International Conference on Malignant
        Lymphoma, 1993.

47.     “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 1993.

48.     “Strategies for Service Excellence in the Clinical Laboratory.” Short Course for American Society of
        Clinical Pathologists Meeting, 1993.

49.     “Benign Diseases of Lymph Nodes: A Pattern Approach.” Short Course for American Society of
        Clinical Pathologists Meeting, 1993.

50.     “Mantle Cell Lymphoma - Pathologic Features”. Society for Hematopathology Workshop on
        Disorders of Small B-Lymphocytes, 1993.

51.     “Mantle Cell Lymphoma”. Department of Pathology, Northwestern University Medical Center,
        1993.

52.     Lymphoma Slide Seminar, Kansas City Society of Pathologists Meeting, 1993.

53.     “Mantle Cell Lymphoma - Clinical Features”. European Task Force on Lymphoma Workshop on
        Mantle Cell Lymphoma, 1994.

54.     “Epidemiology of Hodgkin’s Disease”. International Symposium on Hodgkin’s Disease, 1994.

55.     “Pathology of Hodgkin’s Disease”. International Symposium on Hodgkin’s Disease, 1994.

56.     “Benign Diseases of Lymph Nodes: A Systematic Approach”. ASCP Course on Lymph Node
        Pathology, 1994.

57.     “Epidemiology of Non-Hodgkin’s Lymphoma”. Cancer Center, University of Virginia Medical
        Center, 1994.


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58.     “New Views on Non-Hodgkin’s Lymphoma Classification”. Pan Pacific Lymphoma Conference,
        1994.

59.     “New Concepts in the Pathology of Hodgkin’s Disease”. Pan Pacific Lymphoma Conference, 1994.

60.     “Health Effects of Contaminated Groundwater”. Fall Symposium of the Groundwater Foundation,
        1994.

61.     “Strategies for Service Excellence in the Clinical Laboratory.” Short Course for American Society of
        Clinical Pathologists Meeting, 1994.

62.     “Classification of Non-Hodgkin’s Lymphoma”, Colorado Springs Memorial Hospital, 8th Annual
        Oncology Conference, 1995.

63.     “Benign Diseases of Lymph Nodes: A Systematic Approach”. ASCP Course on Lymph Node
        Pathology, 1995.

64.     “Benign Disorders of Lymph Nodes: A Pattern Approach”. Society for Hematopathology
        Symposium on Diagnostic Issues and Advances in Hematopathology, 1995.

65.     “International Non-Hodgkin’s Lymphoma Classification Project”, Department of Pathology
        Seminar, University of Hong Kong, 1995.

66.     “Benign Diseases of Lymph Nodes: A Systematic Approach”. ASCP Course on Lymph Node
        Pathology, 1996.

67.     “Clinical Significance of the t(14;18)(q32;q21) in Follicular Large Cell Lymphoma”. US and
        Canadian Academy of Pathology Meeting, 1996.

68.     “Application of the International Lymphoma Study Group (ILSG) Classification of Non-Hodgkin’s
        Lymphoma (NHL). Study Design, Methods, and Pathology Results”. Lugano Workshop on New
        Lymphoma Classification, 1996.

69.     “The International Non-Hodgkin’s Lymphoma Classification Project - Preliminary Findings”.
        CALGB Lymphoma Committee Meeting, 1996.

70.     “A Prospective Study of the International Lymphoma Study Group (ILSG) Classification of Non-
        Hodgkin’s Lymphoma: Pathology Findings”. AACR/ASCO Joint Conference on Basic and Clinical
        Aspects of Lymphoma, 1997.

71.     “The International Lymphoma Study Group (ILSG) Classification of Non-Hodgkin’s Lymphoma:
        Pathology Findings from a Large Multicenter Study”. US/Canadian Academy of Pathology Meeting,
        1997.

72.     “The International Lymphoma Study Group (ILSG) Classification of Non-Hodgkin’s Lymphoma:
        Clinical Findings from a Large Multicenter Study”. US/Canadian Academy of Pathology Meeting,
        1997.

73.     “Non-Hodgkin’s Lymphoma: A Practical and Cost-effective Approach to Diagnosis”. US/Canadian
        Academy of Pathology Course, 1997.


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74.     “Non-Hodgkin’s Lymphoma: A Practical and Cost-Effective Approach to Diagnosis”. ASCP Short
        Course, 1997.

75.     “Overview of the Non-Hodgkin’s Lymphoma Classification Project”. Pan Pacific Lymphoma
        Conference, 1997.

76.     “Mantle Cell Lymphoma - Pathology”. Pan Pacific Lymphoma Conference, 1997.

77.     “Follicular Lymphoma”, International Non-Hodgkin’s Lymphoma Classification Project Workshop,
        1997.

78.     “Grading of Follicular Lymphoma”, WHO Clinical Advisory Committee Meeting on the
        Classification of Neoplastic Diseases of the Hematopoietic and Lymphoid Systems, 1997.

79.     “Benign Diseases of Lymph Nodes: A Systematic Approach”. ASCP Course on Lymph Node
        Pathology, 1997.

80.     “Non-Hodgkin’s Lymphoma: A Practical and Cost-effective Approach to Diagnosis”. US/Canadian
        Academy of Pathology Course, 1998.

81.     “Benign Diseases of Lymph Nodes: A Systematic Approach”. ASCP Course on Lymph Node
        Pathology, 1998.

82.     “New Classification for Non-Hodgkin’s Lymphoma”. Fifth Seminar on New Trends in Treatment
        for Acute Leukemia, 1998.

83.     “Mantle Cell Lymphoma - Biological Characterization”. 2nd International Symposium on Malignant
        Lymphomas, 1998.

84.     “Evaluation of the New Lymphoma Classification”. Medical College of Ohio, 1998.

85.     “Benign Diseases of Lymph Nodes: A Systematic Approach”. ASCP Course on Lymph Node
        Pathology, 1999.

86.     “Results of the Non-Hodgkin’s Lymphoma Classification Project”. University of the
        Witwaterstrand, 1999.

87.     “Burkitt-like Lymphoma”. Pan Pacific Lymphoma Conference, 1999.

88.     “Mantle Cell Lymphoma”. ASCO-PANARAB Conference on Malignant Lymphoma, 1999.

89.     “The Non-Hodgkin’s Lymphoma Classification Project”. ASCO-PANARAB Conference on
        Malignant Lymphoma, 1999.

90.     “Histologic Type Predicts Survival in Adults with Diffuse Aggressive B-cell Lymphoma”. US and
        Canadian Academy of Pathology Meeting, 2000.

91.     “Gene Expression in Lymphoid Malignancies Using cDNA Microarray Technology”. Workshop on
        the Comparative Pathology of HIV- and SIV-associated Lymphoma, 2000.

92.     “Grading of Follicular Lymphoma: Diagnostic Accuracy, Reproducibility, and Clinical Relevance”.
        Meeting of the European Association for Haematopathology, 2000.
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93.     “The Non-Hodgkin’s Lymphoma Classification Project”. University of Texas M.D. Anderson
        Hospital, 2000.

94.     “Benign Diseases of Lymph Nodes: A Systematic Approach”. ASCP Course on Lymph Node
        Pathology, 2000.

95.     “Classification and Staging of Non-Hodgkin’s Lymphoma”. 23rd Annual Nebraska Tumor Registry
        Workshop, 2000.

96.     “The Non-Hodgkin’s Lymphoma Classification – Clinical Relevance”. International Symposium on
        New Trends in the Management of Lymphoma, 2000.

97.     “Mantle Cell Lymphoma”. International Symposium on New Trends in the Management of
        Lymphoma, 2000.

98.     “The Non-Hodgkin’s Lymphoma Classification Project”. Thai Society of Pathologists, 2001.

99.     “The Non-Hodgkin’s Lymphoma Classification Project”. Tata Memorial Hospital Lymphoma Study
        Group, 2001.

100.    “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 2001.

101.    “The Non-Hodgkin’s Lymphoma Classification Project.” Beijing International Lymphoma
        Symposium, 2001.

102.    “Mantle Cell Lymphoma.” Beijing International Lymphoma Symposium, 2001.

103.    “Low-Grade B-cell Lymphoma Slide Seminar.” Beijing International Lymphoma Symposium, 2001.

104.    “Incorporating Pathology into Epidemiologic Studies.” International Consortium of Investigators
        Working on Lymphoma Epidemiologic Studies (InterLymph), 2001.

105.    “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 2002.

106.    “Molecular Classification of Lymphoma – A Work in Progress.” Roswell Park Cancer Institute,
        2002.

107.    “The REALity of Lymphoma Classification – Pathology Perspectives.” Conference on Lymphoma
        & Myeloma, 2002.

108.    “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 2003.

109.    “Update on Lymphoma Classification.” Pan-Pacific Lymphoma Conference, 2003.

110.    “Mantle Cell Lymphoma: From Discovery to 2003.” Department of Pathology and Microbiology
        Grand Rounds, University of Nebraska Medical Center, 2003.

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111.    “Cyclin DI-negative Mantle Cell Lymphoma.” United States and Canadian Academy of Pathology
        Meeting, 2004.

112.    “Follicular Lymphoma, Grade 3. Clinical and Biological Features.” Lymphoma . . . the Next
        Questions International Conference, 2004.

113.    “Benign Diseases of Lymph Nodes: A Systematic Approach.” ASCP Course on Lymph Node
        Pathology, 2004.

114.    “Follicular Lymphomas: Are They All the Same?” Conference in Lymphoma and Myeloma, 2004.

115.    “Peripheral T-cell Lymphoma: a Clinicopathologic Analysis with Comparison to Diffuse Large B-
        cell Lymphoma.” United States and Canadian Academy of Pathology Meeting, 2005.

116.    “Peripheral T-cell Lymphoma: How Many Separate Disease Entities?” Lugano Workshop on T-cell
        Lymphoma, 2005.

117.    “Non-Hodgkin Lymphoma (NHL) Around the World: Distribution of Major Subtypes Differs by
        Geographic Region.” 9th International Conference on Malignant Lymphoma, 2005.

118.    “Peripheral T-cell Lymphoma: the American View.” Institute of Medical Hematology and
        Oncology, University of Bolongna, 2005.

119.    “Peripheral T-cell Lymphoma – International Classification and Clinical Project.” Pan-Pacific
        Lymphoma Conference, 2005.

120.    “Classification and Outcome in Peripheral T-cell Lymphoma.” Society for Hematopathology
        Workshop on Progress in T-cell and NK-cell Malignancies, 2005.

121.    “WHO Classification of Malignant Lymphoma.” Wuhan First International Cancer Symposium,
        2005.

122.    “Mantle Cell Lymphoma.” Wuhan First International Cancer Symposium, 2005.

123.    “Peripheral T-cell Lymphoma – International Classification and Clinical Project.” Wuhan First
        International Cancer Symposium, 2005.

124.    “WHO Classification of Haematopoietic Malignancy – Clinical Relevance.” Egyptian Society of
        Haematology Congress, 2005.

125.    “T-cell Lymphoma.” Egyptian Society of Haematology Congress, 2005.

126.    “Mantle Cell Lymphoma.” 2nd Annual Egyptian Oncology and Hematology Meeting, 2005.

127.    “Classification and Outcome in Peripheral T-cell Lymphoma.” Milton R. Hales Lecture in
        Pathology, West Virginia University School of Medicine, 2006.

128.    “Peripheral T-cell and NK/T-cell Lymphomas: an International Study of 1320 Cases.” United States
        and Canadian Academy of Pathology Meeting, 2006.

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129.    “Classification and Outcome in Peripheral T-cell Lymphoma.” 46th Annual Meeting of the Japanese
        Society of Lymphoreticular Tissue Research, 2006.

130.    “Peripheral T-cell Lymphomas.” Neoplastic Hematopathology Update: New Insights into Old
        Questions, 2006.

131.    “Peripheral T-cell Lymphoma: Prognostic Factors.” Bologna Workshop on T-cell Lymphomas,
        2006.

132.    “Non-Hodgkin Lymphoma Around the World.” 13th Hong Kong International Cancer Congress,
        2006.

133.    “Peripheral T-cell Lymphoma, Unspecified.” International T-cell Lymphoma Project Meeting, 2006.

134.    “Peripheral T-cell Lymphoma – New Findings.” Asia-Pacific T-cell Advisory Board Meeting, 2007.

135.    “Geographic Variation in Non-Hodgkin Lymphoma Incidence.” 7th International Network for
        Cancer Treatment and Research (INCTR) Meeting, 2007.

136.    “Peripheral T-cell Lymphoma – New Findings.” Department of Pathology, Fluminense Federal
        University of Brazil, 2007.

137.    “Peripheral T-cell Lymphoma – New Findings.” Hospital do Cancer, Sao Paulo, Brazil, 2007.

138.    “Non-Hodgkin Lymphoma Around the World.” International Non-Hodgkin Lymphoma
        Symposium, Society of Hematology in Chile, 2007.

139.    “Pathology and Pathogenesis of B-cell Chronic Lymphocytic Leukemia.” Monoclonal B-cell
        Lymphocytosis and Chronic Lymphocytic Leukemia: Environmental and Genetic Risk Factors
        Workshop, 2007.

140.    “What Pathologic Prognostic Markers Can Be Helpful in Mantle Cell Lymphoma?” First Global
        Workshop on Mantle Cell Lymphoma, 2007.

141.    “WHO Classification of Lymphoid Neoplasms: Update in 2008.” Japanese Malignant Lymphoma
        Academy, 2008.

142.    “How I Diagnose Lymphoma in Routine Practice and Consultation.” Japanese Malignant
        Lymphoma Academy, 2008.

143.    “Histopathologic and Molecular Diagnosis of Diffuse Large B-cell Lymphoma.” Japanese Malignant
        Lymphoma Academy, 2008.

144.    “Peripheral T-cell Lymphoma, Not Otherwise Specified: a Clinicopathologic Study of 340 Cases
        from the International Peripheral T-cell Project. 10th International Conference on Malignant
        Lymphoma, 2008.




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145.    “WHO Classification of Non-Hodgkin Lymphoma in Developing Countries.” Workshop in
        Epidemiology and Management of Lymphoma in Developing Countries: Challenges and
        Opportunities for International Collaborations. 10th International Conference on Malignant
        Lymphoma, 2008.

146.    ”Non-Hodgkin Lymphoma Around the World”. InterLymph Symposium on New Insights into the
        Causes of Lymphoma, 2008.

147.    “Update on the WHO Classification of Non-Hodgkin Lymphoma.” InterLymph Symposium on
        New Insights into the Causes of Lymphoma, 2008.

148.    “Why has the Incidence of Non-Hodgkin Lymphoma Plateaued in Recent Years?” InterLymph
        Consortium Annual Meeting, 2008.

149.    ”Peripheral T-cell Lymphoma: What We have Learned and New Classification Strategies. Peripheral
        T-cell Lymphoma Forum, 2008.

150.    “Lymphoma Classification and Biology.” North American Educational Forum on Lymphoma, 2008.

151.    “Update on Mantle Cell Lymphoma.” 27th International Congress of the International Academy of
        Pathology, 2008.

152.    “Peripheral T-cell Lymphoma.” Neoplastic Hematopathology Update: New Insights into Old
        Questions, 2008.

153.    “Non-Hodgkin Lymphoma Around the World”. Lymphoma Symposium in Brazil, 2009.

154.    “Non-Hodgkin Lymphoma Around the World”. Lymphoma Symposium in Argentina, 2009.

155.    “Update on Mantle Cell Lymphoma”. 22nd European Congress of Pathology, 2009.

156.    “Non-Hodgkin Lymphoma Around the World”. The 11th National Symposium on Lymphoma in
        China, 2009.

157.    “Mantle Cell Lymphoma - Update and New Perspectives”. Department of Pathology, Fudan
        University Shanghai Cancer Center, 2010.

158.    “Non-Hodgkin Lymphoma in Relation to Environmental Contaminants In Nebraska.” UNMC
        Center for Environmental Health and Toxicology, 2010.

159.    “Epidemiology of Non-Hodgkin Lymphoma in Nebraska and Around the World”. UNMC Center
        for Research in Leukemia and Lymphoma, 2010.

160.    “Peripheral T-cell Lymphomas”. 7th International Chicago Lymphoma Symposium, 2010.

161.    “Epidemiology of Non-Hodgkin Lymphoma Around the World”. Croatian Cooperative Group for
        Hematologic Diseases, 2010.



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162.    “Epidemiology of Non-Hodgkin Lymphoma in Nebraska and Around the World.” UNMC
        Hematologic Malignancies Research Meeting, 2010.

163.    “Epidemiology of Non-Hodgkin Lymphoma in Nebraska and Around the World.” Chinese
        Lymphoma Study Group, 2010.

164.    “Peripheral T-cell Lymphomas.” South Taiwan Lymphoma Club, 2010.

165.    “Peripheral T-cell Lymphoma.” Neoplastic Hematopathology Update: New Insights into Old
        Questions, 2010.

166.    “Epidemiology of Non-Hodgkin Lymphoma Around the World”. Peru National Institute of Cancer,
        2011.

167.    “Epidemiology of Non-Hodgkin Lymphoma Around the World”. Pan Pacific Lymphoma
        Conference, 2011.

168.    “CD30 Expression in Lymphoma”. Seattle Genetics Advisory Board, 2011.

169.    “Natural Killer/T-cell Lymphomas”. Companion Meeting of American Society of Clinical
        Oncology, 2011.

170.    “Epidemiology of Non-Hodgkin Lymphoma in Nebraska and Around the World”. Bryan/Lincoln
        General Hospital Cancer Committee, 2011.

171.    “Peripheral T-cell Lymphomas”. City of Hope Medical Center, 2011.

172.    “Epidemiology of Lymphomas”. 8th Russian Conference on Malignant Lymphomas, 2011.

173.    “Epidemiology of Non-Hodgkin Lymphoma in Nebraska and Around the World”. Kansas City
        Society of Pathologists, 2011.

174.    “Mantle Cell Lymphoma: Update and New Perspectives”. Kansas City Society of Pathologists, 2011.

175.    “Peripheral T-cell Lymphoma”. Kansas City Society of Pathologists, 2011.

176.    “CD30 Expression in Lymphoma”. Seattle Genetics Pathology Round Table, 2011.

177.    “Epidemiology of Non-Hodgkin Lymphoma in Nebraska and Around the World”. UNMC
        Department of Pathology and Microbiology Grand Rounds, 2012.

178.    “Hematologic Maligancy Tissue Banking and Research Applications”. American Cancer Society
        Roundtable on Integrating Pathological Materials into Epidemiological Studies, 2012.

179.    “Epidemiology of Non-Hodgkin Lymphoma Around the World”. Algerian Society of Haematology,
        2012.

180.    “Follicular Lymphoma: Does Grading Really Predict Outcome?” Pan-Pacific Lymphoma
        Conference, 2012.
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181.    “Peripheral T-cell Lymphoma.” Neoplastic Hematopathology Update, 2012.

182.    “Peripheral T-cell Lymphoma - an Update.” Kaiser Pathology Group of Southern California, 2012.

183.    “Molecular Prognostic Factors in Peripheral T-cell Lymphoma.” 5th Annual T-cell Lymphoma
        Forum, 2013.

184.    “Malignant Lymphomas Around the World with Special Regard to Lymphomas in South-East
        Europe.” 1st Macedonian Inter-Congress Meeting, 2013.

185.    “Peripheral T-cell Lymphoma.” University of Macedonia School of Medicine, 2013.

186.    “Nanostring Technology for Molecular Epidemiology Research.” Pathology Working Group, 12th
        InterLymph Meeting, 2013.

187.    “Peripheral T-cell Lymphoma.” Japan Lymphoma Forum and Slide Seminar, 2013.

188.    “Follicular Lymphoma Around the World.” News Around Follicular Lymphoma Symposium,
        University of Munich, 2013.

189.    “Non-Hodgkin Lymphoma Around the World.” Ohio State University Pathology Update Course,
        2013.

190.    “Peripheral T-cell Lymphomas.” Ohio State University Pathology Update Course, 2013.

191.    “Considerations for Future Modifications of the WHO Classification of T-cell Lymphoma.” 6th
        Annual T-cell Lymphoma Forum, 2014.

192.    “Follicular Lymphoma: Environment and Lifestyle”. 13th InterLymph Meeting, 2014.

193.    “Peripheral T-cell Lymphoma”. San Diego Society of Hematopathology Meeting, 2014.

194.    “Peripheral T-cell Lymphoma”. Department of Pathology Grand Rounds, Harbor-UCLA Medical
        Center, 2015.

195.    “Epidemiology of Non-Hodgkin Lymphoma”. Neoplastic Hematopathology Update: Lymphoma
        Symposium, 2015.

196.    “Mantle Cell Lymphoma – Pathology and Biology”. Postgraduate Athens Lymphoma Seminar, 2015.

197.    “Considerations for Future Modifications of the WHO Classification of T-cell Lymphoma”.
        Postgraduate Athens Lymphoma Seminar, 2015.

198.    “Peripheral T-cell Lymphoma”. Hematology Grand Rounds, University of Southern California, 2016.

199.    “New Insights into Peripheral T-cell Lymphoma”. Pan Pacific Lymphoma Conference, 2016.

200.    “Chronic Lymphocytic Leukemia and Small Lymphocytic Lymphoma – Same Disease? Same
        Approach?” Pan Pacific Lymphoma Conference, 2016.
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201.        “Plasmablastic Lymphoma Arising in a Background of Small Lymphocytic Lymphoma”. 18th
            Meeting of the European Association of Haematopathology, 2016.

202.        “New Insights into Peripheral T-cell Lymphoma”, University of Miami Medical Center, 2016.

203.        “Mantle Cell Lymphoma – Pathology and Biology”, Nebraska Association of Pathologists, 2016.

XI. PATENTS, INVENTIONS AND COPYRIGHTS

PATENTS

       •    No. 8,131,475 Methods for Identifying, Diagnosing, and Predicting Survival of Lymphomas
       •    No. 14/540,302 Survival Predictor for Diffuse Large B-Cell Lymphoma
       •    No. 61900553 Method for Selecting and Treating Lymphoma Types
       •    No. PCT/US14/64161 Methods for Selecting and Treating Lymphoma Patients
       •    No. 62/325,213 Evaluation of Mantle Cell Lymphoma and Methods Related Thereto
       •    No. 14803288.1 – 1403/3066215 Method for Subtyping Lymphoma Types by Means of Expression
            Profiling

TECHNOLOGIES LICENSED

1.          Methods for Identifying, Diagnosing, and Predicting Survival of Lymphomas, Nanostring




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              EXHIBIT B
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Dennis D. Weisenburger, MD – Case Testimony in last 4 years

   1. Wendell vs. Johnson & Johnson, et al. United States District Court, Northern District of
      California, Oakland Division, 2014. Case No. 4:09‐cv‐04124‐CW

Dennis D. Weisenburger, MD – Fees

       $500 per hour for work and $5000 per day for deposition and trial, plus travel expenses.
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              EXHIBIT C
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Other Literature Reviewed

1.    Abass, K., Turpeinen, M., and Pelkonen, O., An Evaluation of the Cytochrome P450
      Inhibition Potential of Selected Pesticides in Human Hepatic Microsomes. J Environ Sci
      Health B, 2009. 44(6): p. 553‐563.
2.    Acquavella, J.F., Alexander, B.H., Mandel, J.S., Burns, C.J., and Gustin, C., Exposure
      Misclassification in Studies of Agricultural Pesticides: Insights from Biomonitoring.
      Epidemiology, 2006. 17(1): p. 69‐74.
3.    Adam, A., Marzuki, A., Abdul Rahman, H., and Abdul Aziz, M., The Oral and Intratracheal
      Toxicities of Roundup and Its Components to Rats. Vet Hum Toxicol, 1997. 39(3): p. 147‐
      151.
4.    Alavanja, M.C., Sandler, D.P., McMaster, S.B., Zahm, S.H., McDonnell, C.J., Lynch, C.F.,
      Pennybacker, M., Rothman, N., Dosemeci, M., Bond, A.E., and Blair, A., The Agricultural
      Health Study. Environ Health Perspect, 1996. 104(4): p. 362‐369.
5.    Amer, S., Aly, F., AA, F., and AAE, I., In Vitro and in Vivo Evaluation of the Genotoxicity of
      the Herbicide Glyphosate in Mice. Bull Natl Res Centre Egypt (Cairo), 2006. 31(5): p. 427‐
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6.    Arbuckle, T.E., Burnett, R., Cole, D., Teschke, K., Dosemeci, M., Bancej, C., and Zhang, J.,
      Predictors of Herbicide Exposure in Farm Applicators. Int Arch Occup Environ Health,
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7.    Astiz, M., de Alaniz, M.J., and Marra, C.A., Antioxidant Defense System in Rats
      Simultaneously Intoxicated with Agrochemicals. Environ Toxicol Pharmacol, 2009. 28(3):
      p. 465‐473.
8.    Bai, S.H. and Ogbourne, S.M., Glyphosate: Environmental Contamination, Toxicity and
      Potential Risks to Human Health Via Food Contamination. Environ Sci Pollut Res Int,
      2016. 23(19): p. 18988‐19001.
9.    Bakry, F.A., Ismail, S.M., and Abd El‐Atti, M.S., Glyphosate Herbicide Induces Genotoxic
      Effect and Physiological Disturbances in Bulinus Truncatus Snails. Pestic Biochem Physiol,
      2015. 123: p. 24‐30.



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10.    Benachour, N. and Seralini, G.E., Glyphosate Formulations Induce Apoptosis and Necrosis
       in Human Umbilical, Embryonic, and Placental Cells. Chem Res Toxicol, 2009. 22(1): p.
       97‐105.
11.    Benedetti, A.L., Vituri Cde, L., Trentin, A.G., Domingues, M.A., and Alvarez‐Silva, M., The
       Effects of Sub‐Chronic Exposure of Wistar Rats to the Herbicide Glyphosate‐Biocarb.
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12.    Benedetti, D., Nunes, E., Sarmento, M., Porto, C., Dos Santos, C.E., Dias, J.F., and da
       Silva, J., Genetic Damage in Soybean Workers Exposed to Pesticides: Evaluation with the
       Comet and Buccal Micronucleus Cytome Assays. Mutat Res, 2013. 752(1‐2): p. 28‐33.
13.    Boccolini, P.M., Boccolini, C.S., Chrisman, J.R., Koifman, R.J., and Meyer, A., Non‐Hodgkin
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       Study. Arch Environ Occup Health, 2016: p. 1‐6.
14.    Bolognesi, C., Creus, A., Ostrosky‐Wegman, P., and Marcos, R., Micronuclei and Pesticide
       Exposure. Mutagenesis, 2011. 26(1): p. 19‐26.
15.    Brown, L.M., Blair, A., Gibson, R., Everett, G.D., Cantor, K.P., Schuman, L.M., Burmeister,
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16.    Brown, L.M., Burmeister, L.F., Everett, G.D., and Blair, A., Pesticide Exposures and
       Multiple Myeloma in Iowa Men. Cancer Causes Control, 1993. 4(2): p. 153‐156.
17.    Burstyn, I. and De Roos, A.J., Visualizing the Heterogeneity of Effects in the Analysis of
       Associations of Multiple Myeloma with Glyphosate Use. Comments on Sorahan, T.
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       Public Health, 2016. 14(1).
18.    Bus, J.S., IARC Use of Oxidative Stress as Key Mode of Action Characteristic for
       Facilitating Cancer Classification: Glyphosate Case Example Illustrating a Lack of
       Robustness in Interpretative Implementation. Regul Toxicol Pharmacol, 2017. 86: p. 157‐
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19.    Caglar, S. and Kolankaya, D., The Effect of Sub‐Acute and Sub‐Chronic Exposure of Rats to
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22.    Clair, E., Mesnage, R., Travert, C., and Seralini, G.E., A Glyphosate‐Based Herbicide
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23.    Conrad, A., Schroter‐Kermani, C., Hoppe, H.W., Ruther, M., Pieper, S., and Kolossa‐
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